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                                                                       4/9/2024




                                        April 8, 2024


    Via ECF and Electronic Mail

    The Honorable Analisa Torres
    United States District Court
    Southern District of New York
    500 Pearl Street
    New York, NY 10007

           Re:    Knight First Amendment Institute at Columbia
                  University v. Centers for Disease Control and
                  Prevention and U.S. Department of Health and
                  Human Services, 20 Civ. 2761 (AT)

    Dear Judge Torres,

          I write on behalf of all parties to provide a status update
    pursuant to the Court’s February 12, 2024 Order (ECF No. 102).

           As noted in the parties’ previous joint status letters, the only
    remaining issue in this case is Plaintiff’s request for an award of its
    reasonable attorneys’ fees and other litigation costs as provided for in
    FOIA, 5 U.S.C. § 552(a)(4)(E). Since the parties’ last status update on
    February 9, 2024, ECF No. 101, the parties have continued to negotiate
    in good faith. On April 4, 2024, the parties came to an agreement in
    principle that would obviate the need for motion practice in this case.
    To allow time to finalize this agreement, the parties respectfully
    propose that they file a joint stipulation and proposed order of dismissal
    by Tuesday, April 23, 2024.

           I thank the Court for its attention to this matter.

                                       Respectfully submitted,




GRANTED.

SO ORDERED.

Dated: April 9, 2024
       New York, New York
